                              3:18-cv-03205-SLD-JEH # 18                Page 1 of 4
                                                                                                                   E-FILED
                                                       Monday, 03 December, 2018 04:12:26 PM
                                                                  Clerk, U.S. District Court, ILCD
                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS

NATHAN COBBS,                                        )
                                                     )
                 Plaintiff,                          )
                                                     )
        -vs-                                         )        No. 18-3205
                                                     )
CAMERON WATSON, et al.                               )
                                                     )
                 Defendants.                         )


                              ANSWER AND AFFIRMATIVE DEFENSES

        NOW COME Defendants, MATTHEW LINDSEY, SCOTT SCOGGIN, and TODD

SHEFFLER, by and through their attorney Lisa Madigan, Attorney General for the State of

Illinois, and for their Answer and Affirmative Defenses to Plaintiff’s Complaint [Doc. 1], as

determined by the Court’s Merit Review Order [Doc. 10]1, Defendants state the following:

                                          PLAINTIFF’S CLAIMS

        1.       Plaintiff filed this lawsuit pursuant to 42 U. S. C. §1983 alleging Defendants used

excessive force against him when they battered him on December 15, 2017.

RESPONSE:

        Defendants deny the allegations contained in Paragraph 1 and deny violating

Plaintiff’s constitutional rights.

          2.     Pursuant to its merit review of the Complaint under 28 U.S.C. § 1915A, the Court

finds that the Plaintiff states a claim for excessive force in violation of the Eighth Amendment

against Defendants Lindsey, Scoggin, and Sheffler.

REPONSE:




1
 Pursuant to Local Rule 16.3(E)(2), Defendant responds to the issues as identified in the merit review order and
needs not respond to the Complaint. CDIL-LR 16.3(E)(2).
                                                        1
                         3:18-cv-03205-SLD-JEH # 18             Page 2 of 4


       Defendants deny the allegations contained in this paragraph and deny violating

Plaintiff’s constitutional rights.

                                      RELIEF REQUESTED

       Defendants deny Plaintiff is entitled to any relief.

                                         JURY DEMAND

       Defendants respectfully request a trial by jury on all triable counts.

                                  AFFIRMATIVE DEFENSES

   1. Qualified Immunity

       At all times relevant to Plaintiff’s Claims, Defendants charged herein acted in the good

faith performance of their official duties without violating Plaintiff’s clearly established

constitutional rights. Defendants are, therefore, protected from liability by the doctrine of qualified

immunity.

   2. Sovereign Immunity

   Plaintiff’s claims for monetary damages against Defendants in their official capacities are

precluded by the Eleventh Amendment, which bars an action for damages in federal court against

a State or a State official sued in his official capacity. Plaintiff’s claims for injunctive relief are

barred absent a showing of an ongoing constitutional violation.

   3. Administrative Exhaustion

   Plaintiff has filed suit concerning incidents which occurred while Plaintiff was incarcerated

within the Department of Corrections. Plaintiff has failed to properly exhaust administrative

remedies as is required prior to filing suit under 42 U.S.C. §1983 and his claims are, therefore,

barred by the Prison Litigation Reform Act (42 U.S.C. § 1997e(a)) and Perez v. Wisconsin Dept.

of Corrections, 182 F. 3d 532 (7th Cir. 1999).




                                                  2
                        3:18-cv-03205-SLD-JEH # 18          Page 3 of 4




         WHEREFORE, for the above and foregoing reasons, Defendants respectfully request this

Honorable Court deny Plaintiff any relief in this matter whatsoever and enter judgment in their

favor.



                                            Respectfully submitted,

                                            MATTHEW LINDSEY, SCOTT SCOGGIN,
                                            and TODD SHEFFLER,

                                                    Defendants,

                                            LISA MADIGAN, Attorney General,
                                            State of Illinois,

                                                    Attorney for Defendants,


                                            By:    s/ Sierra Senor-Moore
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                                               3
                        3:18-cv-03205-SLD-JEH # 18           Page 4 of 4


                                           No. 18-3205


                                CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2018, the foregoing document, Answer and
Affirmative Defenses, was electronically filed with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to the following:

               James P. Gaughan
               Riley Safer Holmes & Cancila LLP
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               70 W. Madison St.
               Chicago, IL 60602
               At Email: jgaughan@rshc-law.com



                                                 Respectfully submitted,


                                                 By s/ Sierra Senor-Moore
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